




NO. 07-06-0294-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 16, 2007

______________________________



PAUL MICHAEL BENZ, APPELLANT



V.



TEXAS DEPARTMENT OF PUBLIC SAFETY, APPELLEE

_________________________________



FROM THE COUNTY COURT AT LAW OF GILLESPIE COUNTY;



NO. 1115; HONORABLE MARK STROEHER, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

On May 5, 2006, appellant Paul Michael Benz filed his notice of appeal. &nbsp;The appeal was transferred to this Court on July 19, 2006. &nbsp;

By letter dated November 3, 2006, we notified appellant that he had failed to file his brief or a motion for extension of time by the October 25, 2006 deadline and noted that “unless the brief, or a response reasonably explaining appellant’s failure to file its brief, together with a showing that appellee has not been significantly injured due to such failure, is received on or before Monday, November 13, 2006, the appeal will be subject to dismissal for want of prosecution.” &nbsp;T
EX
. R. A
PP
. P. 38.8(a).

In response to this Court’s letter, appellant filed a motion for extension of time to file appellant’s brief. &nbsp;By letter dated November 16, 2006, we granted appellant’s motion and extended the deadline to file his brief to December 28, 2006. &nbsp;On January 3, 2007, appellant filed another motion for extension of time to file appellant’s brief. &nbsp;By letter dated January 5, 2007, we granted appellant’s motion and extended the deadline to file his brief to January 26, 2007, “with the admonition that additional extensions will not be granted absent extreme and unusual circumstances.” &nbsp;

No brief or further motion for extension of time to file appellant’s brief has been received. &nbsp;Accordingly, notice having been given to all parties, we now dismiss the appeal for want of prosecution. &nbsp;T
EX
. R. A
PP
. P. 38.8(a)(1); 42.3.



James T. Campbell 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice








